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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
   v.                                         )      USDC No. 21-cr-649 (JDB)
                                              )
Michael Dickinson, defendant.                 )

                     UNOPPOSED MOTION TO ENLARGE TIME
                    FOR SUBMISSION OF PRESENTENCE REPORT

        Defendant, through undersigned counsel Nathan I. Silver, II, Esq., (“counsel”) appointed

by this Court under the Criminal Justice Act, with no opposition from the United States, moves

the Court to enlarge time for the submission of the presentence investigation report (“PSI”).

Currently the PSI is due on Dec. 6, 2022, per Judge Emmet G. Sullivan’s previous Order in this

case, entered on Sept. 6, 2022, following the defendant's plea hearing. (See ECF docket Minute

Entry) Through no fault of the U.S. Probation Office, U.S. Probation Off. Robert Walters,

assigned to conduct the investigation and prepare the report, was not able to interview the

defendant until last week, despite the efforts counsel and Mr. Walters to schedule it with the

defendant earlier. Mr. Walters advises that he faces a time constraint set by Congress and

expressed the need to counsel for either an enlargement of time for the submission of the PSI or a

continuance of the sentencing hearing.

        Mr. Walters advises counsel that he would request a new deadline set during the first

week of January, 2023. That would provide him roughly an additional month in which to

complete his investigation and submit the report.

        This Court, after having been randomly assigned this case from Judge Sullivan on

October 18, 2022, reiterated the scheduling for submission of sentencing memoranda and replies
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that Judge Sullivan ordered on Sept. 6, 2022. Neither party objected, after having been contacted

by the Court’s courtroom deputy Tim Bradly, to keeping the same schedule.

       For the reasons stated, the defendant moves to enlarge the time available for the

submission of the PSI to the Court.

       A proposed Order is attached.

       WHEREFORE, the defendant respectfully moves the Court to grant said relief.



                                       This pleading is,

                                      Respectfully submitted,

                                              /s/

                                        NATHAN I. SILVER, II
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                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Barry K. Disney , Esq., U.S. Dept. of Justice-CRM, 1331 F Street, N.W., Washington, D.C.
20005, attorney of record for the government in the instant case, and to Robert Walters at
robert_walters@dcp.uscourts.gov, this 7th day of November, 2022.

                                                 /s/
                                       _______________________________
                                       Nathan I. Silver, II
